4:05-cr-03025-RGK-DLP   Doc # 180   Filed: 05/23/06   Page 1 of 1 - Page ID # 537



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )
                                     )
           v.                        )
                                     )                4:05CR3025
SOKHA KEO,                           )
                                     )
                Defendant.           )
                                     )                   ORDER



     On the court’s own motion,

     IT IS ORDERED:

     The change of plea hearing is continued from June 6, 20006
to June 9, 2006 at 1:00 p.m. before the undersigned magistrate
judge in Courtroom 2, United States Courthouse and Federal
Building, 100 Centennial Mall North, Lincoln, Nebraska.

     2. For this defendant, the time between today’s date and
the hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

     3.   Defendant shall appear at the hearing.


     DATED this 23rd day of May, 2006.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
